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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:04CR3081
          v.                        )
                                    )
BRIAN PARKER,                       )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     1. Plaintiff’s motion to continue, filing 83, is granted
and trial of this matter is continued from August 29 to 9:00
a.m., October 24, 2005, before the Honorable Richard G. Kopf in
Courtroom 1, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Jury selection will be
held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
August 16, 2005 and October 24, 2005 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(3)(A) and 3161(h)(8)(A)(i).

     DATED this 16th day of August, 2005.

                                   BY THE COURT


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
